          Case 1:22-cv-00446-LY Document 18 Filed 11/17/22 Page 1 of 4



                    IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

MID-CONTINENT CASUALTY                         §
COMPANY,                                       §
                                               §
                              Plaintiff,       §
                                               §      CIV. ACTION NO. 1:22-cv-00446-LY
v.                                             §
                                               §
WILLIAMS-AUSTIN BUILDERS,                      §
INC., SARAH AND JASON                          §
WILLIAMS, KRISTINA AND EVAN                    §
BAEHR, INDIVIDUALLY AND AS                     §
NEXT FRIEND TO C.B., M.B., E.B.,               §
and S.B.,                                      §
                                               §
                              Defendants.


AGREED MOTION FOR ENTRY OF CROSS-MOTION FOR SUMMARY JUDGMENT
                 AMENDED BRIEFING SCHEDULE


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COME NOW Plaintiff Mid-Continent Casualty Company, Defendant Williams-Austin

Buildings, Inc., Defendants Sarah and Jason Williams and Defendants Kristina and Evan Baehr,

Individually and as Next Friends to C.B., M.B., E.B., and S.B. (collectively, the “Parties”) and

file this Agreed Motion for Entry of Cross-Motion for Summary Judgment Amended Briefing

Schedule. In support thereof, the Parties would show the honorable Court as follows:

       As noted in the Parties’ Agreed Motion for Entry of Cross-Motion for Summary

Judgment filed October 14, 2022, Doc. #14, the Parties agreed that the matter at issue in this

insurance coverage declaratory judgment action—the duty to defend—is purely a question of law

to be decided on cross motions for summary judgment, without the need for conducting
            Case 1:22-cv-00446-LY Document 18 Filed 11/17/22 Page 2 of 4



discovery or retention of experts.1            Following the Court’s ruling on the cross-motions for

summary judgment on the duty to defend, and if any remaining disputes exist that are then

justiciable that require discovery and the retention of experts, the Parties will meet and confer

and submit an agreed Scheduling Order within thirty (30) days of the Court’s order on the

summary judgment matter(s).

         On October 19, 2022, the Court granted the Parties’ Motion, entering the dates requested.

Doc. #17. Since that time, it has become apparent that additional time will be necessary to brief

the matters before this Court, as there was a Second Amended Petition filed in the Underlying

Lawsuit, currently set for trial in February 2023.


         Therefore, the Parties request the Court enter the following Motion for Summary

Judgment Amended Briefing Schedule:


                         Event                                                     Deadline
Plaintiff to file Motion for Summary Judgment                                 January 11, 2023


Defendants to file Response/Cross-Motion for                                  February 2, 2023
Summary Judgment

Plaintiff to File Reply in Support of its Motion                             February 23, 2023
for Summary Judgment, Response in
Opposition to Defendants’ Cross-Motion for
Summary Judgment

Defendants to File Reply in Support of Cross-                                  March 13, 2023
Motion for Summary Judgment




1
  The Parties further agree that, if this Court finds that the duty to defend does not exist and the same reasons that
negate the duty to defend negate any possibility of a duty to indemnify, then the latter also can be determined as a
matter of law. See Farmers Tex. Cnty. Mut. Ins. Co. v. Griffin, 955 S.W.2d 81, 84 (Tex. 1997) (“We now hold that
the duty to indemnify is justiciable before the insured’s liability is determined in the liability lawsuit when the
insurer has no duty to defend and the same reasons that negate the duty to defend likewise negate any possibility the
insurer will ever have a duty to indemnify.” (emphasis in original)). Plaintiff believes such a circumstance will
present itself here, but Defendants do not.
Case 1:22-cv-00446-LY Document 18 Filed 11/17/22 Page 3 of 4



                          Respectfully Submitted,


                           By:   /s/ R. Brent Cooper
                                 R. BRENT COOPER
                                 State Bar No. 04783250
                                 Email: Brent.Cooper@cooperscully.com

                                 COOPER & SCULLY, P.C.
                                 Founders Square
                                 900 Jackson Street, Suite 100
                                 Dallas, Texas 75202
                                 Telephone: (214) 712-9500
                                 Telecopy: (214) 712-9540

                                 And

                                 VASILIA M. WILKES
                                 State Bar No. 24051452
                                 Email: Vasilia.Wilkes@cooperscully.com

                                 COOPER & SCULLY, P.C.
                                 815 Walker Street, Suite 1040
                                 Houston, Texas 77002
                                 Telephone: (713) 236-6800
                                 Telecopy: (713) 236-6880

                          ATTORNEYS FOR PLAINTIFF,
                          MID-CONTINENT CASUALTY COMPANY

                                 /s/ Douglas P. Skelley      p.p.
                                 DOUGLAS P. SKELLEY
                                 State Bar No. 24056335
                                 doug@shidlofskylaw.com

                                 And

                                 REBECCA DIMASI
                                 State Bar No. 24007115
                                 rebecca@shidlofskylaw.com

                                 SHIDLOFSKY LAW FIRM PLLC
                                 7200 N. Mopac Expressway, Suite 430
                                 Austin, Texas 78731
                                 Telephone: (512) 685-1400
                                 Telecopy: (866) 232-8710
Case 1:22-cv-00446-LY Document 18 Filed 11/17/22 Page 4 of 4



                          ATTORNEYS FOR DEFENDANTS WILLIAM-
                          AUSTIN BUILDERS, INC. AND SARAH AND
                          JASON WILLIAMS


                                /s/ Blair Dancy              p.p
                                Blair Dancy
                                State Bar No. 24001235
                                bdancy@cstrial.com
                                CAIN & SKARNULIS PLLC
                                303 Colorado Street, Suite 2850
                                Austin, Texas 78701
                                512-477-5000
                                512-477-5011—Facsimile

                           ATTORNEYS FOR DEFENDANTS
                           KRISTINA AND EVAN BAEHR
